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                                                               Monday, 15 January, 2018 02:03:14 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

         MOTION TO PERMIT COUNSEL TO ACCESS DOCKET ENTRY # 32

       Counsel moves the Court to enter an Order directing the Clerk of the Court to

allow the parties to inspect Docket Entry # 32, which was sealed by the Court on

November 7, 2017. The docket entry suggests that the sealed document is likely

correspondence of some type, as the envelope in which the document presumably

arrived at the Court is filed as an attachment.

       After receiving the Notice of Electronic Filing on November 7, counsel for Mr.

Christensen, Elisabeth Pollock, immediately sought to examine the contents of Docket

Entry # 32 and was told access was denied. Recently, Ms. Pollock inquired again at the

Clerk’s Office and was again told that “Chambers” had instructed that neither party

should be permitted access to the contents of Docket Entry # 32.

       Counsel for Mr. Christensen respectfully submits that Docket Entry # 32 is a

judicial record that counsel is entitled to examine. Only after such examination can a

determination be made whether the document is properly sealed or the potential, if any,

that the document could have on the Court’s deliberations and rulings in this case.


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       Public access to judicial documents is protected by a common law right of access

and is “firmly rooted in our nation’s history.” Lugosch v. Pyramid Co. of Onondaga, 435

F.3d 110, 119 (2d Cir. 2006). The Supreme Court has consistently recognized this right of

public access. See Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978) (internal

citation omitted)(it is “clear that the courts of this country recognize a general right to

inspect and copy public records and documents, including judicial records and

documents.”); Smith v. United States District Court for the Southern District of Illinois, 956

F.2d 647, 649-50 (7th Cir. 1992) (“The federal common law right of access to judicial

records and documents is well recognized.”).

       This “[a]ccess to records serves the important functions of ensuring the integrity

of judicial proceedings in particular and of the law enforcement process more

generally.” United States v. Hubbard, 650 F.2d 293, 314-15 (D.C. Cir. 1981), and permits

the public to monitor the actions of both the court and the government, especially in

matters of public interest. United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995);

Lugasch v. Pyramid Co., 435 F.3d at 119; Smith v. District Court, 956 F.2d at 650 ((common

law right of access enables “the citizenry to appraise the judicial branch.”).

       The values protected by the common law right of access to judicial records are

similar to those underlying provisions of both the First and Sixth Amendments. See Met

Life, Inc. v. Financial Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017)(“Like

the First Amendment, then, the right of inspection serves to produce an ‘informed and

enlightened public opinion’”), quoting United States v. Mitchell, 551 F.2d 1253, 1258 (D.C.

Cir. 1976)(internal citation omitted), rev’d on other grounds sub nom. Nixon v. Warner, 435


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U.S. 589 (1978); Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir. 1991)( Absent

compelling reasons otherwise, “[t]he First Amendment guarantees the press and the

public a general right of access to court proceedings.”). “And, like the public trial

guarantee of the Sixth Amendment, the common law right of access serves to ‘safeguard

against any attempt to employ our courts as instruments of persecution,’ to promote the

search for truth, and to assure ‘confidence in ... judicial remedies.’ Metlife, Inc., 865 F.3d

at 665, quoting United States v. Mitchell, supra.

             The right of access applies to pretrial proceedings, Smith v. District Court, 956

F.2d at 650, and defendants, “like any other member of the public,” have a “federal

common law right of access to judicial records.” United States v Curry, 641 Fed.Appx.

607, 609 (7th Cir. 2016).1 Although, countervailing interests may prevail in limited

circumstances, there is a “strong presumption in favor of public access to judicial

proceedings.” Hubbard, 650 F.2d at 317; Hardaway v. D.C. Housing Auth., 843 F.3d 973,

980 (D.C. Cir. 2016); see also United States v. Corbitt, 879 F.2d 224 (7th Cir. 1989).

                           “This presumption of openness may be overcome only by an
                           overriding interest based on findings that closure is essential
                           to preserve higher values and is narrowly tailored to serve
                           that interest. The interest is to be articulated along with
                           findings specific enough that a reviewing court can
                           determine whether the closure order was properly entered.”

Press-Enterprise Co. Superior Court of California, Riverside County, 464 U.S. 501, 510 (1984);

see also Globe Newspaper Co. v. Superior Court for Norfolk County, 457 U.S. 596, 606–07



																																																								
1As  noted below, a defendant in a criminal case has an interest in access to documents filed on
the record that transcend that of the general public.


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(1982)(“Where ... the State attempts to deny the right of access in order to inhibit the

disclosure of sensitive information, it must be shown that the denial is necessitated by a

compelling governmental interest, and is narrowly tailored to serve that interest.”);

Lugosch v. Pyramid, 435 F.3d at 120 (“[d]ocuments may be sealed if specific on-the-record

findings are made, demonstrating that closure is essential to preserve higher values and

is narrowly tailored to serve that interest.”), quoting In re New York Times Co., 828 F.2d

110, 116 (2d Cir. 1987); Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir.

1991)(“compelling reasons” required to overcome the right of access to judicial

documents.”); see also Local Rules Central District of Illinois, Criminal Rule:

5.10(A)(2)(disapproving as a general matter of filing documents under seal and

requiring an explanation of why proposed sealed documents meets legal standards for

closure).2

             Before sealing a document the court should weigh various factors, see United

States v. Hubbard, 650 F.2d at 317-200 (listing factors to weigh in balance the respective

interests),3 and a seal may be maintained only “if the district court, after considering the

relevant facts and circumstances of the particular case, and after weighing the interests

advanced by the parties in light of the public interest and the duty of the courts,


																																																								
2	Local
     Rules 5.10(B) and (C) suggest that the same standards apply to ex parte documents and
documents submitted for in camera review.

3“(1) the need for public access to the documents at issue; (2) the extent of previous public
access to the documents; (3) the fact that someone has objected to disclosure, and the identity of
that person; (4) the strength of any property and privacy interests asserted; (5) the possibility of
prejudice to those opposing disclosure; and (6) the purposes for which the documents were
introduced during the judicial proceedings.”	


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concludes that justice so requires.” In re Nat'l Broad. Co., 653 F.2d 609, 613 (D.C. Cir.

1981) (internal quotation marks and citations omitted); “Broad and general findings by

the trial court, however, are insufficient to justify closure.” Id.

       In addition to the required findings, before sealing a document the Court should

provide the parties notice and an opportunity to be heard. See Washington Post, 935 F.2d

at 289; Smith, 956 F.2d at 651 (remanded for hearing on applicability of common law

right of access because trial court did not conduct hearing or otherwise consider the

arguments of the parties).

       The question remains as to whether the content of Docket #32 is a judicial record.

While “[n]ot all documents filed with courts are judicial records,” SEC v. Am. Int'l Grp.,

712 F.3d 1, 3 (D.C. Cir. 2013), it is presumed that judicial records include “everything in

the record” and are “not limited to items in evidence.” Smith, 956 F.2d at 650. “Whether

something is a judicial record depends on ‘the role it plays in the adjudicatory process.’

Met Life v. Financial Stability, 865 F.3d at 666, quoting United States v. El-Sayegh, 131 F.3d

158, 16 (D.C. Cir. 1997). But, the mere fact that the court does not cite a record or it does

not play a significant part in the adjudicatory process does not mean it is not a judicial

record, id., as documents filed as part of the record have the potential to influence later

decisions of the court. Met Life, at 667-68. “Once filed with the court,” documents that

may affect disposition of the litigation are “presumptively open to public view.” City of

Greenville v. Syngenta Crop Protection, 764 F.3d 695, 697 (7th Cir. 2014). As a practical

matter, however, “[w]ithout access to the sealed materials, it is impossible to know

which parts of those materials persuaded the court and which failed to do so (and


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why).” Id. Thus, carried to its logical conclusion, the filing of documents under seal

without access to the parties “greatly diminish[es] the common-law right of access.” Id.

668-669.

       In light of the above counsel must be permitted to examine the contents of

Docket Entry #32, both to determine whether the document is properly sealed and,

more important, the potential impact the document may have on issues previously

presented or likely to be presented in the future in this case. Having been filed on the

docket, the document is presumptively a judicial record to which the common law of

access attaches. To counsel’s knowledge there has been no on-the-record finding as to

why the document is sealed and the Court did not solicit the interests and views of the

parties before sealing the document. At this point, counsel does not suggest that the

document was improperly sealed. See Corbitt, 879 F.2d at 228 (common law right of

access does not apply to documents properly sealed). Rather, counsel only submits that

they are entitled to examine the contents of Docket #32 to determine whether the

sealing was proper under the governing standards and how the sealing may or may not

affect the interests of Mr. Christensen.

       Similarly, counsel is entitled to examine the content of Docket #32 to determine

its potential for influencing adjudicatory issues presented to the Court. Regardless of

whether the Court references its contents orally or in a written decision, any

information brought to the Court’s attention has the potential to influence later

decisions. Counsel obviously cannot make a determination in this regard without first

examining the document. In the course of denying the press access to a presentence


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report, the Seventh Court in United States v. Corbitt, 879 F.2d at 235, 237, referenced the

successive changes over the years to F.R.Cr.P. 32, culminating in broad access for

defendants to such reports “based on compelling considerations of fairness to the

person most directly affected [the defendant].” Similarly, while the public may or may

not have a common law right of access to the contents of Docket #32, depending upon

whether it is properly sealed, the defendant does have a right of access to examine the

docket both to render whatever input is appropriate from his perspective on this issue

and to access the potential impact of the document on issues that have arisen or may

arise in this case.

       For the above reasons, counsel moves the Court to enter an Order directing the

Clerk to permit counsel to examine the contents of document referenced in Docket

Entry #32.

                                   Respectfully submitted,

                                   BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

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